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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                              Western District
                                              __________       of Pennsylvania
                                                         District  of __________

                  United States of America                      )
                             v.                                 )
                                                                )      Case No.     25-MJ-991
                                                                )
                                                                )                  [UNDER SEAL]
            EDWARD ARTHUR OWENS, JR.
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 May 20, 2025                in the county of              Allegheny        in the
     Western           District of       Pennsylvania       , the defendant(s) violated:

            Code Section                                                  Offense Description
Title 18, USC § 875(c)                       Transmitting in interstate or foreign commerce any communication containing
                                             a threat to injure the person of another




         This criminal complaint is based on these facts:
Please see attached Affidavit in Support of Criminal Complaint.




         ✔ Continued on the attached sheet.
         u

                                                                                            /s/Abigail Patcher
                                                                                           Complainant’s signature

                                                                            Special Agent, Federal Bureau of Investigation
                                                                                            Printed name and title

Sworn to before me and signed in my presence.


Date:             05/30/2025
                                                                                              Judge’s signature

City and state:                  Pittsburgh, Pennsylvania                         HONORABLE PATRICIA L. DODGE
                                                                                            Printed name and title
